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MINUTE ENTRY
AFRICK, J.
NOVEMBER 5, 2019

JS10 - 06:35

                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


 UNITED STATES OF AMERICA                                     CRIMINAL ACTION
 VERSUS                                                       NUMBER: 17-201
 JEREMY ESTEVES,                                              SECTION: I
 ROBERT BRUMFIELD, III


                                       JURY TRIAL
                             (continued from November 4, 2019)

COURTROOM DEPUTY: Bridget Gregory
COURT REPORTER: Jodi Simcox

APPEARANCES:         Michael McMahon and Brittany Reed, Counsel for Government
                     Majeeda Snead and Nandi Campbell, Counsel for defendant Jeremy Esteves
                     Townsend Myers, Counsel for defendant Robert Brumfield, III
                     Jeremy Esteves and Robert Brumfield, III, Defendants

All present and ready.
Jury returned to the courtroom at 7:35 a.m.
Government witnesses.
Edward Delery, sworn and testified.
Marc Boudreau, sworn and testified as an expert.
Government's exhibits 20 and 28, offered and admitted.
Amy Ford, sworn and testified.
Government's exhibits 23a-23oo, 25, 24, 26 and 27, offered and admitted.
Dr. Erin O'Sullivan, sworn and testified as an expert.
Government's exhibits 21, 22a-22c, offered and admitted.
Tyra Lewis, sworn and testified.
Government's exhibit 17, offered and admitted.
Dana McDonald-Mayer, sworn and testified.
Angela Bordelon, sworn and testified.
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Government's exhibit 1, offered and admitted.
Stacy Williams, sworn and testified as an expert.
Government's exhibit 34 in globo, offered and admitted.
Robert Donnell, sworn and testified.
Government's exhibits 7, 7a, 8a-8c, 11, and 9a-9b, offered and admitted.
Anjene Treaudo, sworn and testified.
Government's exhibits 6 and 6a, offered and admitted.
Saunders Craine, sworn and testified.
Cedric Wade, sworn and testified.
Government's exhibits 10a-10c, 42a-42c, 36a-36g, 41a-41g, and 41cc, offered and admitted.
Court recessed at 3:00 p.m., to reconvene on Wednesday, November 6, 2019 at 7:30 a.m.
Defendants remanded to the custody of the U.S. Marshal.
